                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF IOWA
                                     WESTERN DIVISION

                                                  )
 NuStar Farms, LLC, Anthony Nunes, Jr.,           )   Case No. 5:20-cv-04003-CJW-MAR
 and Anthony Nunes, III,                          )
                                                  )
              Plaintiffs,                         )
 v.                                               )   Defendants’ Unresisted Motion to Extend
                                                  )   Deadlines for Expert Disclosures
 Ryan Lizza and Hearst Magazine Media,            )
 Inc.,                                            )
                                                  )
              Defendants.                         )
                                                  )

       Defendants Ryan Lizza and Hearst Magazine Media, Inc. (“Defendants”), through their

undersigned counsel, and pursuant to Rule 16 of the Federal Rules of Civil Procedure and Local

Rule 16(f), move for an amendment to the Scheduling Order and Discovery Plan, see ECF Nos.

61, 66, 76, 77, to extend the expert disclosure deadlines as follows:

       Expert witness disclosures:
               1. Defendants’ expert(s): July 30, 2021
               2. Plaintiffs’ rebuttal expert(s): August 16, 2021
As good cause for this request, Defendants state as follows:

       1.      At present, Defendants’ expert disclosures are due on June 22, 2021, see ECF No.

77, with Plaintiffs’ rebuttal expert disclosures due July 13, 2021, see id.

       2.      Pursuant to Local Rule 16(f), Defendants state that the expert disclosure deadline

as originally set in the Court’s scheduling order was February 25, 2021. See ECF No. 61. It has

been extended two prior times: once in connection with an unresisted motion filed by Plaintiffs

to extend their disclosure deadline, see ECF No. 66, and once on an unresisted motion by

Defendants, see ECF No. 77.



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       3.      Further, pursuant to Local Rule 16(f)(5), Defendants state that this requested

extension does not disturb the currently scheduled trial date of February 14, 2022, see ECF No.

64, nor does it affect the dispositive motion deadline of September 3, 2021, see ECF No. 61.

Further, Defendants are not seeking an extension of the August 2, 2021 discovery deadline, with

the limited exception of (i) depositions, if any, of Defendants’ experts,1 and (ii) disclosure of

Plaintiffs’ rebuttal experts, if any, whom Defendants may then depose.

       4.      Defendants have engaged three independent consultants whom Defendants

anticipate will be named as testifying experts: (1) a former ICE Special Agent in Charge and

Deputy Assistant Director, (2) an agricultural labor economist, and (3) a forensic accountant. All

three experts’ analyses will be greatly informed by the testimony of NuStar’s employees (the

“Employees”) and Plaintiffs, i.e., NuStar itself, by Rule 30(b)(6), and by its officers and owners,

the Nuneses (as defined below).

       5.      Defendants sought to depose at least some of the Employees between May 12-14,

and to depose NuStar by Rule 30(b)(6) by early June, so their deposition transcripts could be

prepared and reviewed by the experts well in advance of the June 22 disclosure deadline. To

date, none of those depositions have been completed. See, e.g., ECF No. 103 (motion regarding

adjournment of depositions of Employees).

       6.      Plaintiffs’ counsel has recently informed Defendants’ counsel that NuStar is not

available to be deposed by Rule 30(b)(6) until July 14, 2021, at the earliest, and that Plaintiffs

Anthony Nunes, Jr., and Anthony Nunes, III, and NuStar’s co-owner (Toni Dian Nunes) and its

secretary (Lori Nunes) (together, “the Nuneses”), are also unavailable until mid-July.


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       If Plaintiffs wish to depose Defendants’ experts, Defendants would make their experts
available for deposition for 30 days after their reports are disclosed, notwithstanding the August
2, 2021 discovery cut-off date.


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       7.      Defendants can accommodate these July dates (July 14-16, 19-20) for the

depositions, but, accordingly, believe their expert disclosures cannot be completed by the current

deadline.

       8.      Pursuant to Local Rule 7(k), Defendants’ counsel has conferred in good faith with

Plaintiffs’ counsel regarding extending these expert disclosure deadlines as requested by this

motion. Plaintiffs consented to Defendants’ request, on the condition that they be provided an

opportunity to serve any rebuttal expert reports on a similar timeframe. Defendants agreed to

Plaintiffs’ condition. Resultingly, Plaintiffs consent to the proposed dates set forth in this

motion.

       WHEREFORE, Defendants respectfully request that the Court issue an order amending

the Scheduling Order and Discovery Plan by re-setting the expert disclosure deadlines, as set

forth above.


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Dated: June 2, 2021
                                      Respectfully Submitted,

                                       Ryan Lizza and Hearst Magazine Media,
                                       Inc., Defendants

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                                  Certificate of Service

      The undersigned certifies that a true copy of Defendants’ Unresisted Motion to Extend
Deadlines for Expert Disclosures was served upon the following parties through the Court’s
CM/ECF electronic filing system on June 2, 2021.

                                                  /s/ Nathaniel S. Boyer

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